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                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA
       In re:                                   :

       JOHN B ELBERT
                                                       : Bankruptcy No. 17-17423JKF
                     Debtor(s)                         : Chapter 13

                                                  *******

                                                         HEARING TO BE HELD:
                                                         Date: April 18, 2018
                                                         Time: 9:30 a.m.
                                                         Place: United States Bankruptcy Court
                                                                Courtroom #3
                                                                900 Market Street
                                                                Philadelphia, PA 19107-4295

                                                  *******

              TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of Pennsylvania:

1.      Your Movant is Frederick L. Reigle, Esq. the duly qualified and acting Chapter 13 Trustee in the
above-captioned case.

2.         The within case was commenced by the filing of a Chapter 13 petition on 11/ 1/17.

3.     This Motion to Dismiss has been filed for the following reason(s):

                  The Debtor(s) has/have failed to commence or continue making timely payments to the
             Trustee as required by 11 U.S.C. Section 1326.
                  The plan does not appear to be feasible.
                  The Debtor(s) has/have failed to file Monthly Operating Reports as required by N.B.R.
             2015 and L.B.R 2015.1.
                  The Certification of Business Debtor(s) has not been filed
                  The Debtor(s) has/have failed to file tax returns with the: Internal Revenue Service - 2016
                 The plan filed by debtor(s) does not appear feasible in that the total filed proofs of claim
             which are to be paid through the plan exceed the value of the proposed plan.
4.      For the reasons set forth herein, the Trustee believes, and therefore avers, that the within case
should be dismissed.
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WHEREFORE, the Movant requests that the Court, after a hearing, enter an Order dismissing this case.


Respectfully submitted,

Date: April 3, 2018                                                  /s/ Polly A. Langdon

                                                              Polly A. Langdon, Esq.
                                                             for
                                                             Frederick L. Reigle, Esq.
                                                             Standing Chapter 13 Trustee
                                                             2901 St. Lawrence Avenue
                                                             P. O. Box 4010
                                                             Reading, Pennsylvania 19606
                                                             Telephone: (610) 779-1313
